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                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
                            SAN JOSE DIVISION
                               Honorable Edward J. Davila
                                 Courtroom 4 - 5th Floor

           TITLE: UNITED STATES v. RAMESH SUNNY BALWANI
                  CASE NUMBER: 5:18-CR-00258-2 EJD
                             Minute Order and Trial Log
                                    *CORRECTED*
Date: May 11, 2022
Time in Court:     (8:36-9:33 AM; 9:48-11:44 AM; 12:44-2:30 PM; 3:03-4:19 PM)
                   TOTAL Time: 5 hrs, 55 min

Courtroom Deputy Clerk: Cheré Robinson
Court Reporter: Irene Rodriguez
______________________________________________________________________________
APPEARANCES:
Plaintiff Attorney(s) present:  Jeffrey Schenk, Robert Leach, John Bostic, Kelly Volkar
Also present: Special Agent - Chris McCollow
                Paralegals – Maddi Wachs; Sara Slattery

Defendant Attorney(s) present: Jeffrey Coopersmith, Amy Walsh, Stephen Cazares, Aaron
                               Brecher, Shawn Estrada, Sachi Schuricht, Amari Hammonds

Also present: Paralegal – Jennifer Cygnor
Also present: Ramesh Sunny Balwani (out-of-custody)
______________________________________________________________________________
PROCEEDINGS:

Motion Hearing: 57 min (8:36-9:33 AM)

Hearing held on [1425] Defendant’s Motion to Compel. Argument of Counsel heard.

Jury Trial (Day 28): 4 hrs, 58 min (9:48-11:44 AM; 12:44-2:30 PM; 3:03-4:19 PM)

Jury Trial held May 11, 2022. Testimony held and evidence entered.
Further Jury Trial set for May 13, 2022, at 9:00 AM.

See attached Trial Log.

The following exhibits were identified and offered:
Plaintiffs: 663, 1334, 1371, 2057, 2468
Defendants: 14124, 14135, 14103, 12285, 14224, 14225, 14226, 12185, 12252, 713, 1362,
            12999, 13150, 13191

The following exhibits are admitted into evidence:
Plaintiffs: 663, 1334, 1371, 2057, 2468
Defendants: 14124, 14135, 14103, 12285, 14224, 14225, 14226, 12185, 12252, 713, 1362,
            12999, 13550, 13991



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                                                                                    Courtroom Deputy
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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

                             HONORABLE EDWARD J. DAVILA

                    Case Name: United States v. Ramesh Sunny Balwani
                            Case No: 5:18-CR-00258-2 EJD

                                         TRIAL LOG

TRIAL DATE: May 11, 2022       REPORTER: Irene Rodriguez              CLERK: Cheré Robinson


 PLF      DEFT      TIME       DESCRIPTION


                   8:36 am     Court in session with Counsel out of presence of Jury and witnesses

                               Hearing held on [1425] Defendant’s Motion to Compel

                   9:33 am     Court breaks for 15 minutes

                   9:48 am     Jury present

                   9:49 am     Court in session in presence of Jury

                               Court queries Jury re previous admonishment

                   9:50 am     Witness #14 Daniel L. Mosely returns to stand

                               Defense continues cross-examination of Daniel Mosley

                               Ex. 4197, previously admitted

          14124    9:58 am     ADMITTED into Evidence: 2014-10-06 Mosley/Holmes Email String

                   10:04 am    Ex. 4284, previously admitted

                   10:08 am    Ex. 2065, previously admitted

          14135    10:11 am    ADMITTED into Evidence: Oct 2014 Mosley/Boies/Holmes Email
                               string re Theranos
                   10:14 am    Displayed Excerpt of 2019-04-10 Deposition Transcript of Daniel L.
                               Mosley
                   10:16 am    Defense completes cross-examination of Daniel L. Mosley

                               Government begins re-direct examination of Daniel L. Mosley

                   10:17 am    Ex. 3387, previously admitted


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TRIAL DATE: May 11, 2022      REPORTER: Irene Rodriguez            CLERK: Cheré Robinson


 PLF      DEFT      TIME      DESCRIPTION


                   10:20 am   Government completes re-direct examination of Daniel. L. Mosley

                              Witness Daniel L. Mosley

                   10:21 am   Government calls Alan Eisenman

                   10:22 am   Witness #15 Alan Eisenman sworn and takes the stand

                   10:23 am   Government begins direct examination of Alan Eisenman

  663      Obj     10:45 am   ADMITTED into Evidence: May 2010-Aug 2012
                              Eisenman/Holmes/Minnig Email String re June Quarterly update
                   11:03 am   Ex. 1106, previously admitted

 1334              11:08 am   ADMITTED into Evidence: Dec 2013 Holmes/Eisenman Email String
                              re Theranos Stockholder Consents for your Signature by this
                              Wednesday 12/18/13, and attachments – Theranos – Amended and
                              Restated Certificate of Incorporation (Dual Class.pdf; Theranos –
                              Amended and Restated Investor Rights Agreement (Dec 2013).pdf;
                              Theranos – Amended and Restated Series C-1 Preferred Stock Purchase
                              Agreement.pdf; Theranos – Amended and Restated Voting Agreement
                              Series C-1 (December 20, 2013).pdf
                   11:13 am   Ex. 4060, previously admitted

 1371              11:21 am   ADMITTED into Evidence: Dec 2013 Theranos/Eisenman/Balwani
                              Email String re Theranos Stockholder Consents for your Signature by
                              this Wednesday 12/18/13, pp. 1-8 only
                   11:25 am   Ex. 1334, previously admitted

 2057              11:32 am   ADMITTED into Evidence: Oct 2014 Eisenman/Holmes/Balwani
                              Email String re Negative report on Theranos from UBS
 2468              11:38 am   ADMITTED into Evidence (with personal info redacted): Apr 2015
                              Eisenman/Balwani/Holmes Email String re Theranos, and re PLEASE
                              RESPOND!!!
                   11:44 am   Court breaks for 60 minutes

                   12:44 pm   Jury and witness Alan Eisenman enters Courtroom

                   12:46 pm   Court in session in presence of Jury and witness Alan Eisenman


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TRIAL DATE: May 11, 2022     REPORTER: Irene Rodriguez                CLERK: Cheré Robinson


 PLF      DEFT      TIME     DESCRIPTION


                             Defense conducts cross-examination of Alan Eisenman

          14103    1:07 pm   ADMITTED into Evidence: May 2010 Eisenman/Holmes Email String
                             re Updates on Theranos
  Obj     12285    1:13 pm   Offered into Evidence

                   1:15 pm   Foundation to be laid re state of mind

  Obj              1:16 pm   Offered into evidence

                   1:17 pm   Further foundation to be laid re state of mind

          12285    1:20 pm   ADMITTED into Evidence (with second paragraph in E. Holmes email
                             redacted): Jun 2010 Eisenman/Holmes Email String re June call
          14224    1:23 pm   ADMITTED into Evidence: 2010-07-01 Eisenman Email to Holmes re
                             no decision on sale of stock
          14225    1:25 pm   ADMITTED into Evidence: Jul 2010 Eisenman/Balkenhol/Holmes re
                             Catching Up
          14226    1:31 pm   ADMITTED into Evidence: Sep 2010 Eisenman/Holmes Email string
                             re Larry Ellison
          12185    1:33 pm   ADMITTED into Evidence: Feb 2011 Eisenman/Holmes/Balwani
                             Email String re request for updates on Theranos
          12252    1:35 pm   ADMITTED into Evidence: May 2012 Eisenman/Minnig Email String
                             re Theranos updates
           713     1:37 pm   ADMITTED into Evidence: Nov 2012 Eisenman/Minnig/Holmes
                             Email String re Business Update
          1362     1:44 pm   ADMITTED into Evidence: Dec 2013 Eisenman/Balwani Email String
                             Theranos Stockholder Consents for your Signature by this Wednesday
                             12/18/13
                   1:45 pm   Ex. 1371, pp. 1-8, previously admitted

  Obj     12999      2:06    Offered into Evidence

                     2:07    ADMITTED into Evidence: Jan 2015 Eisenman/Balwani/Holmes
                             Email String re Google Alert – Theranos
                   2:10 pm   3530

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TRIAL DATE: May 11, 2022     REPORTER: Irene Rodriguez             CLERK: Cheré Robinson


 PLF      DEFT      TIME     DESCRIPTION


                   2:13 pm   14103

                   2:14 pm   2468

          13150    2:18 pm   ADMITTED into Evidence: Aug 2015 Bois/Eisenhan Email String re
                             Theranos follow up from our conversation today
  Obj     13191    2:22 pm   Offered into Evidence

                   2:24 pm   ADMITTED into Evidence (not for the truth of matter asserted, but to
                             witness’s state of mind): Sep 2015 Eisenman/Thombridge/Zawrotny
                             Email String re Theranos
                   2:29 pm   Defense completes cross-examination

                   2:30 pm   Court breaks for 33 minutes

                   3:03 pm   Jury and witness Alan Eisenman present

                   3:07 pm   Court in session in presence of Jury and witness Alan Eisenman

                             Government begins re-direct examination of Alan Eisenman

                   3:12 pm   Ex. 3387, previously admitted

                   3:21 pm   Government completes re-direct of Alan Eisenman

                   3:22 pm   Defense begins re-cross-examination of Alan Eisenman

                   3:27 pm   Ex. 12999, previously admitted

                   3:37 pm   Ex. 14224, previously admitted

                   3:38 pm   Defense completes re-cross-examination of Alan Eisenman

                   3:39 pm   Government begins further re-direct of Alan Eisenman

                   3:41 pm   Government completes further re-direct of Alan Eisenman

                             Witness #15 Alan Eisenman excused

                             Government calls Witness #16 Lynette Sawyer to testify

                   3:43 pm   Witness#16 Lynette Sawyer sworn and takes the stand



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TRIAL DATE: May 11, 2022     REPORTER: Irene Rodriguez             CLERK: Cheré Robinson


 PLF      DEFT      TIME     DESCRIPTION


                   3:44 pm   Government begins direct examination of Lynette Sawyer

                   3:56 pm   Ex. 4533, previously admitted

                   3:58 pm   Ex. 20575, previously admitted

                   3:58 pm   Ex. 10525, previously admitted

                   3:59 pm   Ex. 10526, previously admitted

                   4:00 pm   Government completes direct examination of Lynette Sawyer

                   4:02 pm   Defense begins cross-examination of Lynette Sawyer

                   4:13 pm   Court admonishes Jury

                             Jury departs Courtroom

                             Lynette Sawyer released for day

                   4:14 pm   Court in session with counsel out of presence of Jury and witnesses

                   4:19 pm   Court adjourns

                             Jury Trial continued to May 13, 2022, at 9:00 AM




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